           Case 1:20-cv-01282-GBD Document 8 Filed 06/01/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               : Civ. No.   1:20-cv-01282-GBD
                                                           :
v.                                                         :
                                                           :
CINCINNATI BELL INC., LYNN A.                              :
WENTWORTH, MEREDITH J. CHING,                              :
WALTER A. DODS, JR., JOHN W. ECK,                          :
LEIGH R. FOX, JAKKI L. HAUSSLER,                           :
CRAIG F. MAIER, RUSSEL P. MAYER,                           :
THEODORE H. TORBECK, and MARTIN J.                         :
YUDKOVITZ,                                                 :
                                                           :
                  Defendants.                              :
.                                                          :
--------------------------------------------------------- :

                             NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Shiva Stein hereby voluntarily dismisses her individual claims in the above-

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed

with the Court before service by Defendants of either an answer or a motion for summary

judgment, Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: June 1, 2020                                    Respectfully submitted,

                                                       WOLF HALDENSTEIN ADLER
                                                       FREEMAN & HERZ LLP

                                                       /s Gloria Kui Melwani
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